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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA

                                                  )
THE MILL STEEL COMPANY et al.,                    )
                                                  )
                        Plaintiffs,               )
                                                  )
                v.                                )            Civil Case No.2:14-1023
                                                  )
SOUTHEASTERN STUD &                               )
COMPONENT,INC. et al.,                            )
                                                  )
                        Defendants.               )
                                                  )

                                            JUDGMENT

        Judgment is hereby entered dismissing this case with prejudice. The Court commends

'counsel for their efforts to resolve this case withouffurther judicial interventibn.




        July 211,2019
                                                               oyce C. Lamberth
                                                          United States District Judge
